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                                           23-1509

                   United States Court of Appeals
                                            for the
                                  Fourth Circuit

                                    JASON GOODMAN,

                                                               Defendant-Appellant,

                                            – v. –

              KATHY STEELE, Administrator of the Estate of Robert David Steele,
                      and EARTH INTELLIGENCE NETWORK,

                                                                 Plaintiffs-Appellees.


                INTERLOCUTORY APPEAL FROM THE UNITED STATES
              DISTRICT COURT FOR THE EASTERN DISTRICT OF VIRGINIA



                  RESPONSE IN OPPOSITION TO
               PLAINTIFFS-APPELLESS MOTION TO
                       DISMISS APPEAL

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           pro se Defendant-Appellant
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     1                                  INTRODUCTORY STATEMENT
     2
                To the best of Goodman’s understanding, plaintiffs-appellees claim this appeal is
     3
         frivolous because the District Court made an error by transferring jurisdiction to the Appellate
     4
         Court and because Goodman made an error by filing too late and refusing to pay the filing fee.
     5

     6   Goodman disagrees with each of these conclusions for the reasons set forth in this response.

     7          Even if the Court determines that Goodman has made some procedural error, this appeal
     8
         is not frivolous, and plaintiffs-appellees have provided insufficient grounds to dismiss it.
     9
         Goodman is a pro se litigant with virtually no experience in Appellate Court. Goodman’s intent
    10
         was to appeal the District Court’s decisions which he alleges were made in contradiction to
    11

    12   Virginia law and IRS Code. The District Court determined the appeal should proceed and

    13   reiterated that when it canceled the pretrial hearing, (See 3:21-cv-00573-JAG ECF No. 94).
    14
                Goodman alleges the District Court acted ultra vires when it appointed a family member
    15
         executor to the board of directors of a non-profit public charity that had no other board members
    16
         due to defective corporate governance. Goodman further alleges the District Court acted ultra
    17

    18   vires when it allowed the same executor to continue defamation claims on behalf of the deceased

    19   relative. Neither the District Court, nor the plaintiffs-appellees have cited any ruling or law that
    20
         contradicts Goodman’s well founded claims, they have merely ignored them in a rush to proceed.
    21
                                                    ARGUMENT
    22
                                       The District Court Acted Ultra Vires
    23

    24          On November 16, 2021, the District Court acted within its discretion by allowing Kathy

    25   Steele (“Steele”) executor of the estate of Robert David Steele, (“RDS”) to substitute as plaintiff
    26
         for him upon his death. At that time, in addition to defamation and conspiracy, the District Court
    27

    28   MOTION SEEKING LEAVE TO FILE INTERLOCUTORY APPEAL AND TO STAY
         PROCEEDINGS PENDING JUDGMENT - 1
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     1   was considering a property claim concerning alleged improper use of likeness which the estate
     2
         had a right to defend. The District Court then proceeded ultra vires however, when it appointed
     3
         Steele as a director, receiver, or surrogate for the vacant board of directors and allowed her to act
     4
         unilaterally on behalf of the improperly organized, facially defective, tax-exempt public charity,
     5

     6   plaintiff-appellee Earth Intelligence Network (“EIN”). EIN was not property of RDS and is not

     7   owned by his estate. The District Court appointed Steele as board chair of a public charity
     8
         despite her failure to meet the legal requirements to fill the role pursuant to EIN’s by-laws,
     9
         articles of incorporation, and the Virginia Nonstock Corporations Act. Even if the Appellate
    10
         Court agrees that the District Court had the authority to appoint a receiver or surrogate to EIN’s
    11

    12   board, that person must be qualified to serve as a board director in accordance with the laws by

    13   which EIN is organized. Without a board of directors, EIN cannot legally operate as a Virginia
    14
         Nonstock Corporation or maintain standing as plaintiff pursuant to FRCP Rule 17(b)(2).
    15
                         Defamation Claims Cannot Survive the Death of the Claimant
    16
                The District Court has not refuted the fact that in Virginia an essential element of any
    17

    18   defamation claim is that the claimant must be a living person. All other facts are rendered

    19   immaterial in Virginia courts when defamation claims concern a deceased party. The District
    20
         Court offered no explanation for its disagreement with this and did not cite any other case where
    21
         heirs of a deceased party were allowed to continue a defamation claim as Steele has in this case.
    22
                ("[T]he law of defamation historically has protected a basic [*38] interest. The
    23

    24   individual's right to personal security includes his uninterrupted entitlement to enjoyment of his

    25   reputation." (citing Fuller v. Edwards, 180 Va. 191, 22 S.E.2d 26, 29 (Va. 1942))); Restatement
    26
         (Second) of Torts § 560 cmt. a (Am. Law Inst. 2019) (noting that there generally exists no cause
    27

    28   MOTION SEEKING LEAVE TO FILE INTERLOCUTORY APPEAL AND TO STAY
         PROCEEDINGS PENDING JUDGMENT - 2
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     1   of action for defamation of a decedent's reputation, because defamation involves an interest in
     2
         one's reputation that is personal); id. § 652C cmt. a (noting that the "interest protected by the
     3
         [cause of action for the misappropriation of one's name or likeness] is the interest of the
     4
         individual in the exclusive use of his own identity . . . in so far as the use may be of benefit to
     5

     6   him or to others" and likening that interest to a property right).

     7          Williams v. Microbilt Corp., No. 3:19cv085 (REP), 2019 U.S. Dist. LEXIS 227601, at
     8
         *37-38 (E.D. Va. Sep. 23, 2019)
     9
                The Fourth Circuit has additionally determined that, “In Maryland, a claim for slander
    10
         cannot be maintained against the estate of a decedent if the claim arose before the decedent's
    11

    12   death. See Md. Code Ann., Estates and Trusts, § 8-103(b) (Michie 1991 & Supp. 1999).”

    13          Carroll v. City of Westminster, 233 F.3d 208, 212 (4th Cir. 2000)
    14
                The District Court did not deny the relevance or accuracy of these citations, it merely
    15
         ignored them. The Court failed to cite any case in which a deceased party, their family members,
    16
         executors, or heirs succeeded as defamation plaintiffs or succeeded in continuing defamation
    17

    18   claims after the allegedly defamed party’s death. Further, the Fourth Circuit has clearly decided

    19   this precise question already and the District Court has not cited a superseding decision.
    20
                The Fourth Circuit has upheld that defamation claims are only cognizable when they
    21
         pertain to living parties. The District Court proceeded otherwise, citing no law or precedent,
    22
         creating substantial ground for difference of opinion. The Fourth Circuit should decide if the
    23

    24   appointment of Steele to EIN’s board was within the District Court’s authority or Virginia law,

    25   and if dismissal of plaintiffs-appellees’ property claims should have ended the case because
    26
         plaintiffs-appellees lack standing with regard to the remaining defamation and related claims.
    27

    28   MOTION SEEKING LEAVE TO FILE INTERLOCUTORY APPEAL AND TO STAY
         PROCEEDINGS PENDING JUDGMENT - 3
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     1          The Fourth Circuit has already decided in Carroll v City of Westminster that heirs or
     2
         executors may not continue defamation cases for deceased parties (See 3:21-cv-00573-JAG ECF
     3
         No. 87 page 2 line 20). Despite this and without any relevant citation or further explanation, the
     4
         District Court allowed plaintiffs-appellees to proceed. The Fourth Circuit must determine if the
     5

     6   District Court acted ultra vires when it construed a defamation claim maintained by an executor

     7   of a deceased party as cognizable and sufficient to continue pursuant to Virginia law. The
     8
         Fourth Circuit must also determine if the Court acted ultra vires by appointing a legally
     9
         disqualified director as the receiver or surrogate to the non-existent board of directors of EIN.
    10
                                    The Appeal is Not Frivolous or Improper
    11

    12          In their motion, plaintiffs-appellees allege that the “frivolous and improper nature of

    13   Goodman’s appeal I (sic) further demonstrated by his refusal to pay the filing fee.” This facially
    14
         absurd conclusion is false. Goodman received notice via pacer.uscourts.gov on May 9, 2023 that
    15
         the District Court case had been transmitted to the Fourth Circuit Court of Appeals (See 3:21-cv-
    16
         00573-JAG ECF No. 93). After failing to locate an appellate case, on or around May 9, 2023,
    17

    18   Goodman called the Fourth Circuit Court of Appeals to inquire with the clerks as to how he

    19   could locate the new case. The clerks informed Goodman that it had been transmitted to the
    20
         Appellate Court, but not yet entered on their docket. They further informed Goodman he would
    21
         receive a USPS letter with payment instructions that would allow online payment of the filing
    22
         fee. Before receiving any other information from the Court, on May 10, 2023, Goodman
    23

    24   received an email from counsel for plaintiffs-appellees including the motion to dismiss (ECF No.

    25   5). Goodman has subsequently located this case on the Appellate Court’s docket and sent
    26
         payment to the District Court on May 16, 2023. (EXHIBIT A)
    27

    28   MOTION SEEKING LEAVE TO FILE INTERLOCUTORY APPEAL AND TO STAY
         PROCEEDINGS PENDING JUDGMENT - 4
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     1                                            CONCLUSION
     2
                Even if the Appellate Court determines Goodman’s appeal is somehow procedurally
     3
         defective, it was not frivolously filed, and Goodman should be given reasonable opportunity to
     4
         cure any potential defects that might allow it to proceed on its merits. Goodman’s intent was to
     5

     6   appeal decisions of the District Court that appear contrary to existing law and precedent. The

     7   District Court ordered the transfer of jurisdiction to the Fourth Circuit for appellate review and
     8
         confirmed that decision. Plaintiffs-appellees disagree with the District Court but have failed to
     9
         prove the appeal to be frivolous. This appeal was filed in good faith and with good reason. This
    10
         appeal was not filed frivolously and should not be dismissed. Goodman respectfully requests the
    11

    12   Appellate Court deny plaintiffs-appellees’ motion to dismiss and allow this well-founded appeal

    13   to move forward and be decided on its merits, or otherwise dismiss this matter for the reasons
    14
         stated herein or for any other reasons as determined by the Appellate Court.
    15

    16
         Signed this 16th day of May 2023
    17

    18   Respectfully submitted,

    19                                    ____________________________________________________
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    23

    24

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    26

    27

    28   MOTION SEEKING LEAVE TO FILE INTERLOCUTORY APPEAL AND TO STAY
         PROCEEDINGS PENDING JUDGMENT - 5
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                                     (EXHIBIT A)
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